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Attorneys for Plaintiffs, Elaine Levins, and
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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
ELAINE LEVINS and WILLIAM LEVINS, Civil Action No.:
on behalf of themselves and others similarly :
situated,
Plaintiffs,

CLASS ACTION COMPLAINT FOR
VS. VIOLATIONS OF THE FAIR DEBT
COLLECTION PRACTICES ACT

HEALTHCARE REVENUE RECOVERY
GROUP, LLC d/b/a ARS ACCOUNT DEMAND FOR JURY TRIAL
RESOLUTION SERVICES, and JOHN
AND JANE DOES | THROUGH 25,

Defendants.

 

 

Plaintiffs, ELAINE LEVINS and WILLIAM LEVINS (“Plaintiffs” or “LEVINS”), on
their own behalf and on behalf of the class they seek to represent, bring this action for the illegal
practices of the Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC d/b/a ARS
ACCOUNT RESOLUTION SERVICES (“HRRG”), and JOHN AND JANE DOES |!

THROUGH 25 (collectively ‘““Defendants’), and allege the following:

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EXHIBIT

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J. PARTIES

l. ELAINE LEVINS is a natura! person.

2. At all times relevant to this lawsuit, ELAINE LEVINS was a citizen of, and
resided in, the Borough of Laurel Springs, Camden County, New Jersey.

3, WILLIAM LEVINS is a natural person,

4. At all times relevant to this lawsuit, WILLIAM LEVINS was a citizen of, and
resided in, the Borough of Laurel Springs, Camden County, New Jersey.

5. At all times relevant to this complaint, HRRG is a Limited Liability Company
existing pursuant to the laws of the State of Florida.

6. HRRG maintains its principal business address at 1643 N. Harrison Parkway,
Building H, Suite 100, City of Sunrise, Broward County, Florida.

7, Defendants, JOHN AND JANE DOES NUMBERS | THROUGH 25, are sued
under fictitious names as their true names and capacities are yet unknown to Plaintiffs. Plaintiffs
will amend this complaint by inserting the true names and capacities of these DOE defendants
once they are ascertained,

8. The Plaintiffs are informed and believe, and on that basis allege, that Defendants,
JOHN AND JANE DOES NUMBERS |] THROUGH 25, are natural persons and/or business
entities all of whom reside or are located within the United States who personally created,
instituted, and, with knowledge that such practices were contrary to law, acted consistent with,
oversaw, and engaged in the illegal policies and procedures, used by themselves and HRRG
employees that are the subject of this complaint. Those Defendants personally control and
engaged in the illegal acts, policies, and practices utilized by HRRG and, therefore, are

personally liable for all of the wrongdoing alleged in this Complaint.

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Il. JURISDICTION & VENUE

9. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
1331,

10. Venue is appropriate in this federal district pursuant to 28 U.S.C. §1391(b)
because a substantial part of the events giving rise to the Plaintiffs’ claims occurred within this
federal judicial district, and because HRRG is subject to personal jurisdiction in the State of New
Jersey at the time this action is commenced.

Il. PRELIMINARY STATEMENT

11. Plaintiffs, on their own behalf and on behalf of the class they seek to represent,
bring this action for the illegal practices of Defendants which include, inter alia, using false,
deceptive, misleading, harassing, and abusive practices in connection with their attempt to
collect an alleged debt from Plaintiffs and other similarly situated consumers.

12. Plaintiffs allege that HRRG collection practices violate the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seg. (“FDCPA”).

13. Such collection practices include, inter alia, leaving pre-recorded telephonic
voice messages for consumers, which:

(a) fail to provide meaningful disclosure of HRRG’s identity;

(b) use false representations and deceptive means to collect or attempt
to collect any debt and to obtain information concerning a consumer;
and

(c) use the name of any business, company, or organization other than
the true name of the debt collector’s business, company, or

organization.
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14. The FDCPA regulates the behavior of collection agencies attempting to collect a
debt on behalf of another. The United States Congress has found abundant evidence of the use of
abusive, deceptive, and unfair debt collection practices by many debt collectors, and has
determined that abusive debt collection practices contribute to a number of personal
bankruptcies, marital instability, loss of jobs, and invasions of individual privacy. Congress
enacted the FDCPA to eliminate abusive debt collection practices by debt collectors, to ensure
that those debt collectors who refrain from using abusive debt collection practices are not
competitively disadvantaged, and to promote uniform State action to protect consumers against
debt collection abuses. 15 U.S.C. § 1692(a) - (e).

15, The FDCPA is a strict liability statute, which provides for actual or statutory
damages upon the showing of one violation. The Third Circuit has held that whether a debt
collector’s conduct violates the FDCPA should be judged from the standpoint of the “least
sophisticated consumer.” Graziano v. Harrison, 950 F.2d 107 (3d Cir. 1991).

16. To prohibit harassment and abuses by debt collectors the FDCPA, at 15 U.S.C. §
1692d, provides that a debt collector may not engage in any conduct the natural consequence of
which is to harass, oppress, or abuse any person in connection with the collection of a debt and
names a non-exhaustive list of certain per se violations of harassing and abusive collection
conduct. 15 U.S.C. § 1692d(1)-(6). Among the per se violations prohibited by that section are:
the placement of telephone calls without meaningful disclosure of the caller’s identity, 15 U.S.C.
§ 1692d(6).

17. To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the
use of false, deceptive, and misleading collection letters and names a non-exhaustive list of
certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-(16).

Among the per se violations prohibited by that section are: using any false representation or

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deceptive means to collect or attempt to collect any debt or to obtain information concerning a
consumer, 15 U.S.C. § 1692e(10); and the use of any business, company, or organization name
other than the true name of the debt collector’s business, company, or organization, 15 U.S.C. §
1692e(14).

18. The Plaintiffs, on behalf of themselves and al! others similarly situated, seek
statutory damages, attorney fees, costs, and all other relief, equitable or legal in nature, as
deemed appropriate by this Court, pursuant to the FDCPA and all other common law or statutory
regimes.

IV. FACTS REGARDING PLAINTIFFS

19. Sometime prior to August 18, 2016, Plaintiffs allegedly incurred a financial
obligation in the form of a medical debt. (“Debt”).

20. The Debt arose out of a transaction in which the money, property, insurance, or
services which are the subject of the transaction are primarily for personal, family, or household
purposes.

21. HRRG collects, and attempts to collect, defaulted medica! debts incurred, or
alleged to have been incurred, for personal, family, or household purposes on behalf of creditors

using the U.S. Mail, telephone, and Internet.

22. On or about August 18, 2016, the unknown creditor of the Debt either directly or
through intermediate transactions assigned, placed, or transferred the Debt to HRRG for

collection.

23. Within the one year immediately preceding the filing of this complaint and as set

forth infra, HRRG contacted Plaintiffs and third-parties via telephone in an attempt to collect the

alleged Debt.

 
 

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24. HRRG is, at all times relevant to this complaint, a “debt collector” as defined by
15 U.S.C. § 1692a(6).

25. HRRG contends the Debt is in default.

26. The alleged Debt is a “debt” as defined by 15 U.S.C. §1692a(5).

27. ELAINE LEVINS is, at all times relevant to this lawsuit, a “consumer” as that
term is defined by 15 U.S.C. § 1692a(3).

28. WILLIAM LEVINS is, at all times relevant to this lawsuit, a “consumer” as that
term is defined by 15 U.S.C. § 1692a(3).

29. Within the one year immediately preceding the filing of Plaintiffs’ complaint in
this action, HRRG contacted Plaintiffs via telephone on multiple occasions in an attempt to
collect the Debt.

30. Within the one year immediately preceding the filing of Plaintiffs’ complaint in
this action, HRRG left multiple pre-recorded telephonic voice messages for Plaintiffs on their
telephone voicemail system in an attempt to collect the alleged Debt (“Messages”).

31, The following is a transcription of the pre-recorded Messages HRRG left for
Plaintiffs during the one year period immediately preceding the filing of their complaint:

“ARS calling. Please return our call at 1-800-694-3048. ARS is
a debt collector. This is an attempt to collect a debt. Any
information obtained will be used for that purpose. Again, our

number is 1-800-694-3048. Visit us at www.arspayment.com.”

32. The foregoing Messages may be heard by clicking on the following icon:

 

33. Each of the Messages is a “communication” as defined by 15 U.S.C. § 1692a(2).
34, Each of the Messages was left by persons employed as debt collectors by HRRG

in connection with the collection of a “debt” as defined by 15 U.S.C. §1692a(5).

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35, The Messages are identical, in that each uniformly failed to:
(a) Provide meaningful identification of HRRG’s identity as the caller;
and
(b) Disclose the true name of the HRRG’s business, company, or
organization.
36. At the time Plaintiffs received the Messages, they did not know the identity of
caller.

37. At the time Plaintiffs received the Messages, they did not know any company

named “ARS.”
38. There are numerous companies, businesses, and debtors who use the name “ARS.”
39, The Plaintiffs have never received any written communications from HRRG.

40. The telephone number 1-800-694-3048 is answered by persons who are employed
by HRRG as “debt collectors” as that term is defined by 15 U.S.C. § 1692a(6)

Al, The only way for Plaintiffs and/or a least sophisticated consumer to obtain the
identity of the caller, and to ascertain the purpose underlying the Messages, is to place a return
call to the telephone number provided in the Messages and speak with a debt collector employed
by HRRG, and then provide that debt collector with personal information.

42. HRRG intended that the Messages have the effect of causing Plaintiffs and other
least sophisticated consumers to place return calls to the telephone number provided in the
Messages and speak with its debt collectors as the sole means of obtaining the identity of the
caller leaving the Messages, and to ascertain the purpose underlying the Messages.

43. Scores of federal court decisions—including the 11th Circuit Court of Appeals
and District of New Jersey—uniformly hold that the FDCPA requires debt collectors to provide

meaningful identification of itself in telephonic voice messages left for consumers, by accurately

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stating the true name of the debt collection company and the nature and/or purpose of the call.

44. Atall times relevant to this action, HRRG was aware of the substantial weight of
legal authority requiring it to provide meaningful identification of itself in telephonic voice
messages left for consumers, such as the Messages, by accurately stating its tue company name,
stating the nature and/or purpose of the call, and disclosing that it is a debt collector.

45. At all times relevant to this action, HRRG willfully, deliberately, and intentionally
chose not to provide meaningful identification of itself in telephonic voice messages left for
consumers, such as the Messages, by accurately stating its true company name and stating the
nature and/or purpose of the call.

46, HRRG’s act of leaving the Messages for Plaintiffs is conduct the natural
consequences of which is to harass, oppress, or abuse a person in connection with the collection
of a debt and is in violation of the FDCPA.

47. HRRG’s act of leaving the Messages constitutes the use of a false, deceptive, or
misleading representation or means in connection with the collection of any debt and is in
violation of the FDCPA.

48. The FDCPA secures a consumer’s right to have a debt collector cease further
communications with the consumer. By failing to meaningfully identify itself, HRRG has
engaged in conduct designed to deprive consumers of their right to have a debt collector cease
further communications without providing their personal information.

V. POLICIES AND PRACTICES COMPLAINED OF

49, It is HRRG’s policy and practice to leave telephonic voice messages for

consumers and other persons, such as the Messages, that violate the FDCPA by, inter alia:
(a) Failing to provide meaningful disclosure of HRRG’s identity;

(b) Using false representations and deceptive means to collect or

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attempt to collect any debt and to obtain information concerning a
consumer; and

(c) Using the name of any business, company, or organization other
than the true name of the debt collector’s business, company, or
organization.

50, On information and belief, the Messages, as alleged in this complaint under the
Facts Concerning Plaintiffs, number in the thousands.

VI. CLASS ALLEGATIONS

51. This action is brought as a class action. Plaintiffs bring this action on behalf of
themselves and on behalf of all other persons similarly situated pursuant to Rule 23 of the
Federal Rules of Civil Procedure.

52. This claim is brought on behalf of a class of all persons with addresses in the State
of New Jersey for whom HRRG left a telephonic voice message in an attempt to collect a debt,
which simply identified the caller as “ARS” instead of its true company name, during the one-
year period preceding the filing of this complaint and ending 21 days thereafter.

53. The identities of all class members are readily ascertainable from HRRG’s
business records and the records of those businesses and third-party entities on whose behalf it
attempts to collect debts.

54, Excluded from the Class are HRRG and all officers, members, partners,
managers, directors, and employees of HRRG and their respective immediate families, and legal
counsel for all parties to this action and all members of their immediate families.

55, There are questions of law and fact common to the Class, which common issues
predominate over any tssues involving only individual class members. The principal issues are

whether HRRG’s telephonic voice messages, in the form of the Messages, violate 15 U.S.C. §§

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1692d, 1692d(6), 1692e, 1692e(10), and 1692e(14).

56. The Plaintiffs’ claims are typical of the class members, as all are based upon the
same facts and legal theories.

57. The Plaintiffs will fairly and adequately protect the interests of the Class defined
in this complaint. The Plaintiffs have retained counsel with experience in handling consumer
lawsuits, complex legal issues, and class actions, and neither the Plaintiffs nor their attorneys
have any interests, which might cause them not to vigorously pursue this action.

58. This action has been brought, and may properly be maintained, as a class action
pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a
well-defined community interest in the litigation:

(a) Numerosity: The Plaintiffs are informed and believe, and on that basis
allege, that the Class defined above is so numerous that joinder of all
members would be impractical.

(b) Common Questions Predominate: Common questions of Jaw and fact
exist as to all Class members and those questions predominate over any
questions or issues involving only individual class members. The principal
issues are whether HRRG’s telephonic voice messages, in the form of the
Messages, violate 15 U.S.C. §§ 1692d, 1692d(6), 1692e, 1692e(10), and
1692e(14).

(c) Typicality: The Plaintiffs’ claims are typical of the claims of the class
members, Plaintiffs and each Class Member have claims arising out of

HRRG’s common uniform course of conduct complained of herein.

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(d) Adequacy: The Plaintiffs will fairly and adequately protect the interests of
the class members insofar as Plaintiffs have no interests that are averse to
absent class members. The Plaintiffs are committed to vigorously litigating
this matter. Plaintiffs have also retained counsel experienced in handling
consumer lawsuits, complex legal issues, and class actions. Neither the
Plaintiffs nor their attorneys has any interests which might cause them not
to vigorously pursue the instant class action lawsuit.

(e) Superiority: A class action is superior to the other available means for the
fair and efficient adjudication of this controversy because individual joinder
of all members would be impracticable. Class action treatment will permit
a large number of similarly situated persons to prosecute their common
claims in a single forum efficiently and without unnecessary duplication of
effort and expense that individual actions would engender.

59. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil
Procedure is appropriate in that the questions of law and fact common to members of the Class
predominate over any questions affecting an individual member, and a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.

60. Based on discovery and further investigation (including, but not limited to,
Defendants’ disclosure of class size and net worth), Plaintiffs may, in addition to moving for
class certification using modified definitions of the Class, Class Claims, and the class period, and

seek class certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).

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VU. FIRST CAUSE OF ACTION
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

61. Plaintiffs reallege and incorporate by reference the allegations in the preceding

paragraphs of this Complaint.

62. HRRG violated the FDCPA. HRRG’s violations with respect to the Messages

include, but are not limited to, the following:

(a) Engaging in conduct the natural consequence of which is to harass, oppress, or
abuse any person in connection with the collection of a debt in violation of 15
U.S.C. § 1692d;

(b) Placing telephone calls without providing meaningful disclosure of HRRG’s
identity as the caller in violation of 15 U.S.C. § 1692d(6);

(c) Using a false representation or deceptive means to collect or attempt to collect any
debt or to obtain information concerning a consumer, which constitutes a violation
of 15 U.S.C. §§ 1692e and 1692e(10); and

(d) Using the name of any business, company, or organization other than the true name
of HRRG’s business, company, or organization, which constitutes a violation of 15
U.S.C. §§ 1692e and 1692e(14).

VU. PRAYER FOR RELIEF
63. WHEREFORE, Plaintiffs respectfully request the Court enter judgment in their
favor and in favor of the Class as follows:
A. For the FIRST CAUSE OF ACTION:
(i) An order certifying that the First Cause of Action may be maintained as a class
pursuant to Rule 23 of the Federal Rules of Civil Procedure and appointing

Plaintiffs and the undersigned counsel to represent the Class defined above.

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(ii) An award of statutory damages for Plaintiffs and the Class pursuant to 15
U.S.C. § 1692k(a)(2)(B);
(iii) | An incentive award for Plaintiffs in recognition of their services on behalf of
the Class in an amount to be determined by the Court;
(iv) | Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §
1692k(a)(3); and
(v) For such other and further relief as may be just and proper.
IX. JURY DEMAND
Plaintiffs hereby demand that this case be tried before a Jury.
s/ Philip D. Stern
Dated: February 12, 2017 Philip D. Stern
STERN*THOMASSON LLP
s/ Andrew T,. Thomasson
Andrew T. Thomasson
STERN*THOMASSON LLP
s/ Daniel A, Frischberg
Dated: February 12, 2017 Daniel A. Frischberg, Esq.

LAW OFFICE OF ANDREW B. FINBERG, LLC

Attorneys for Plaintiffs and all others similarly
Situated

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X. CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2
I, Daniel A. Frischberg, Philip D. Stern, and Andrew T. Thomasson hereby certify that to
the best of my knowledge the matter in controversy is not the subject of any other action pending
in any court or the subject of a pending arbitration proceeding, nor is any other action or
arbitration proceeding contemplated. I further certify that I know of no party, other than putative
class members, who should be joined in the action at this time.
In accordance with 28 U.S.C. $1746, I certify under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct.

S/ Philip D. Stern
Dated: February 12, 2017 Philip D. Stern
STERN* THOMASSON LLP

s/ Andrew T. Thomasson
Andrew T. Thomasson
STERN* THOMASSON LLP

 

5/ Daniel A. Frischberg

Dated: February 12, 2017 Daniel A. Frischberg, Esq.
LAW OFFICE OF ANDREW B. FINBERG, LLC

Attorneys for Plaintiffs and all others similarly
situated

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